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                 EXHIBIT 1
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                     LETTER OF REQUEST (LETTER ROGATORY)
TO:    Clerk of Humansdorp Magistrate Court
       Humansdorp Magistrate Court
       Du Plessis St.
       Humansdorp 6300 South Africa

RE:    Government of the United States Virgin Islands v. JPMorgan Chase Bank, N.A.
       In the United States District Court for the Southern District of New York
       Civil Action No. 1:22-cv-10904-JSR


Dear Sir/Madam:

        The above-captioned civil action is pending before the undersigned Judge of the United
States District Court for the Southern District of New York. Plaintiff in the action seeks to obtain
the deposition of Cathy Alexander and production of documents in her possession.

       Thank you for your courtesy in this matter.


                                                     BY THE COURT




                                                     JED S. RAKOFF, U.S.D.J.

Dated: _____________________
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                      UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF NEW YORK

GOVERNMENT OF THE UNITED                       )              Case Number: 1:22-cv-10904-JSR
STATES VIRGIN ISLANDS                          )
                                               )              ACTION FOR DAMAGES
                       PLAINTIFF,              )
                                               )              JURY TRIAL DEMANDED
               V.                              )
                                               )
JPMORGAN CHASE BANK, N.A.                      )
                                               )
                       DEFENDANT.              )

               REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE

                                    (LETTERS ROGATORY)

       The United States District Court for the Southern District of New York presents its

compliments to the Humansdorp Magistrate Court of South Africa, and requests international

judicial assistance to obtain evidence to be used in a civil proceeding before this Court in the above

captioned matter.


       This Court requests the assistance described herein as necessary in the interests of justice.

The assistance requested is that the appropriate judicial authority of South Africa compel the

appearance of the below named individual to give evidence and produce documents.


The aforesaid mentioned individual:

       Cathy Alexander

Residing at:

       7 Harmonie Crescent, Paradise Beach, Jeffreys Bay 6330, South Africa

       This Court requests Cathy Alexander produce all Documents, Communications, and

agreements related to her employment by Jeffrey Epstein, including: employment and severance


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agreements; non-disclosure agreements; all payments, in any form, received from or on behalf of

Jeffrey E. Epstein; and all Communications with Jeffrey E. Epstein, Ghislaine Maxwell, Bella

Klein, Daphne Wallace, Harry Beller, Lesley Groff, Sarah Kellen a/ka Sarah Kensington a/k/a

Sarah Vickers, Erika Kellerhals, Richard D. Kahn, and/or Darren K. Indyke.


                                              FACTS

1.       The above-captioned case is currently pending in the United States District Court for the

Southern District of New York.

2.       Plaintiff alleges decedent Jeffrey E. Epstein engaged in a criminal sexual trafficking

enterprise in the Virgin Islands, wherein he used his vast wealth and property holdings and a

deliberately opaque web of corporations and companies to transport young women and girls to his

privately-owned islands where they were held captive and subject to severe and extensive sexual

abuse. Plaintiff further alleges that Defendant JPMorgan Chase Bank, N.A. and its affiliates had

actual or constructive knowledge of Epstein’s misconduct but nevertheless violated their statutory

duties to report suspicious transactions from accounts held by them.

3.       Upon information and belief, Cathy Alexander was employed by decedent Jeffrey E.

Epstein as the house manager for his residence on Little St. James from approximately 1999 to

2007, and, as such, would have first-hand knowledge of Epstein’s conduct and visitors at Little St.

James.

4.       In order to prepare the case for trial, Plaintiff needs to the take the deposition of Cathy

Alexander.

5.       Plaintiff has previously attempted to obtain Cathy Alexander’s deposition and run into

obstacles attempting to depose her.




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       A Subpoena to Testify at a Deposition in a Civil Action is attached hereto, requesting Cathy

Alexander appear to have her deposition taken, at a location to be determined, and produce

documents thirty days after the date she is served with the Subpoena and Letter Rogatory.

       The United States District Court for the Southern District of New York is willing to provide

similar assistance to judicial authorities of South Africa. The United States District Court for the

Southern District of New York is willing to reimburse the judicial authorities for costs incurred in

executing this Letters Rogatory.

       Thank you for your courtesy in this matter.


                                                     BY THE COURT




Dated: January _____, 2023
                                                     JED S. RAKOFF, U.S.D.J.
                                                     United States District Court
                                                     For the Southern District of New York
                                                     United States Courthouse
                                                     500 Pearl Street
                                                     New York, NY 10007
                                                     (212) 805-0401 Telephone




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